"` "‘?`?=,"`l § . §§ C‘W `l:'r \".Ff.”h'< § *`~ ' .

q;,gz§zf$@§z?
_ ,. .. y .c.
, ~ _. `,‘ ill lHT`{
- `3“§%?€§§§ Yl%§oi

STATE OF TENNESSEE ZBHZHU‘J iii Pll l=li§
SUMMONS cn'rr.'nr.’n

 

L_i\ 1 L..l“.~v¢~"v-"=m

!N THE CHANCERY CGURT FOR WILLLAMSQN CGUNTY, TENNESSEE

 

 

 

 

 

 

QREG R°SS clvn. AchoN NO:: 2d l 7

Plainliff
Servioe By:
Plaintiff n Sheril`f
vs. n Al:l:ornoy

STATE mm FIBE and cASUALTY n Sec. Of Stato
Defendant jg{l’&o»mnr'¢. Ol‘ lnsumnce

COHPANY"_'.by serving the
Defendant

CC|MHIS SIONER DF INSURANCE

Defe“da“trn DEPT. or comissron linn J;NSURANCB, 500 Jam¢s nobertsc.y;?vy-

Nashville, TN di/zliB-U§SS
To the above name Defendant:

You are hereby summoned and required to serve upon w` GARY 'HACKBURN
plainting attorngy, whose address is 101 Le:a Avenue, Nashville, TN 37210
, an answer to the complaint which is herewith served
upon you within thirty (30) days after oervice of this summons upon you,
exclusive of the day of service. lf you fail to do so, judgment by default will be
taken against you for the relief demanded in the com - .1iif'.‘
Wil:nessed and issued, Elaine B. Beeler, C|ork = n

ofan this [_§ day of ila L,J_' ,20@3 ,

 

    
 
 

 

 

 

~ NGT|CE:

To the defendant{$): Tenno.ssao law provides a four thousand dollar ($4,000.00)
personal property exemption from execution or seizure to satisfy a judgment if a
judgment should be entered against you in this action and you wish to claim
property as exempt, you must file a written list, under oath, of the terms you wish
to claim as exempt with the clerk of the court. The list may be lile al any time
and may be changed by you thereafter as necessary; however, unless it is filed
before the judgment becomes linal, it will not bo effective as to any execution or
garnishment issued prior to the filing of the list. Gertain items are automatically
exempt by low and do not need to be listed; those include items of necessary
wearing apparel (clothing) for yourself and your family and trunks or other
receptacles necessary to contain such apparel, family portraits, the family Bible,
and school books. Should any of these items be seized, you would have the right
to recover them. ll‘ you do not understand your exemption right or how to
exercise it, you may wish to seek the counsel of a lawyer. Mail list, including
docket number, to; Olerlc and Mastor, P,G.Bo:r 1666, Franl<lin, TN 37065¥

Case 3:09-cv-01196 Document 1-1 Filed 12/18/09 Page 1 of 11 Pa

 

   

156 .C;? 9
4 6103 w V.,¢ Y¢N§oa/olz

 

///;~»ZZ/`g?:" gregg
£.T‘
b z L
1.;%¢§:;;?~¢30§ c:;z.zz;*rv
,L z~‘: :zf"’"
m mg cHANc:ERY comr iron mexAMsoN COUP‘"I`Y’ m a EERSE(E § s K icg

ATFRANKLJN ZLS‘BHBY 32 FH t= z,g
EN I`ERED
<;REG Ross, ) m"“"?
)
mainqu }
} Case No.,__§__:?_@!_:?~
VS. )
) mm I)EMAND
STATE FARM FIRE AND )
CASUALTY coMPANY, )
)
Defendant. )
COMPLAINT

Cornes now Greg Ross and for his Complaint against the Defendant, time I~`arm

Fire and Ca$ualty Company states as follows:
PARTIES AND JURISDICTIGN

l. Plaintiff Gregory Ross is a resident of Williamson County, "ennessee.

2. The Defendant State F:arm Fire and Casualty Company is a foreign
cozporation authorized to conduct the business of insurance within this State. mate Farm
has designated the Commissioncr of Insmance of the State of Tennessee to recei ve process
on its behale Pezfc)xmance of the conuact of insurance and the insured pmp¢rty are in
Williamson County, Tenuessee` Venue is therefore found in the Chanb<:ry Courc,
‘\Vl}}iamson Countjz, Tennessee.

ALLEGATIONS OF FACT

3§ Plainti?f' Gregory Ross was an insured under policy no. 42-35-5§~;22-0. The

policy insures property at 4321 Long Lanc in Przmklin, Tennessee, which is ;:rovided to

Mr. Rc)ss as a parsonage by the knmanuel Community Baptist Church, fox which Plaintiff

Case 3:09-cv-01196 Document 1-1 Filed 12/18/09 Page 2 of 11 Page|D #: 5

§§ §§§ *§‘“ §§§§ §
£‘tt,§€§ . ~£§§§;§»§'§ »_.§~@»~~,l_ ¢F*§.l;,.; 4 CI{)S Fi§l;} SE; 9

ll
304/012

Q%g»E/ZB~§§S"%’

serves as Pastor. 'l'l\e church has authorized Plaintilf to act on its behalf in pmcuring

hisme and the Defen€lant has previously determined that coverage would be provided

for any covered loss.

4. On or about Jmmary 3, 2003, the property suffered extensive wa\§:r damage

as a consequence of frozen and hurst pipes. A claim was timely made to the jefendant

Scate P:mn und§':r' Saicl policy of insm'ance.

5. The parties, having been unable to agree as to the amount rif the loss
invoked the appraisal clause of the policy ".l'liat clause provides in pertinent part

Section l - Conditions

4. Appraisal. lt` you and we fail to agree on the mount of l§:ss,
either one can demand that the amount of the loss be set by appraisal lf
either makes a written demand for appraisal, each shall selecl. a
COMPE"I'ENT, DISINTERESTBD APFRAISER. Each shall notify the
other of the appraise:r’s identity within twenty (20) days of receipt of the
written demand The: two appraisers shall then select a competent, impm~ .ial
umpire. . . . the appraisers shall then set the amount of the ioss. If the
appmisers submit a written report of an agreement to us, the amount agu:ed
upon shall be the amount of the loss. If the appraisers fail to agree witth a
reasonable time, they shall submit their differences to the umpire, Wri§r.en
agreements signed by any two of these three shall set the amount of the l<'ss.
. . .(cmphasis added)

 

5. 'l'he appraisal procedure i.n this insurance contract is intended t§: achieve a
prompt, fair and rqasonablc assessment of the amount of loss sustained as a result of an
insurable occurrcnoe, utilizing the services of persons whose background 'aud training
prepared diem for the task.

71 Each party owed to the other the duty of good liaith and fair decling. 'I'his

duty included refraining from conduct which interfered with the essential fairness of the

appraisal process.

€'ml§

Case 3:09-cv-01196 Document 1-1 Filed 12/18/09 Page 3 of 11 Page|D #: 6

0

mi

f"‘?"¥

~;'"2-

€\:“:“.:‘.. er tr '" »§ m Q" §
g@:jt_§;,tzt.t mr § war ., ms twa w M

/
U~}£)SXGIZ

%'?“ZZ/§Z~§§§

3. The appraisal clause of the contract of iime required that each party
appoint as their appraisers persons who were °‘competent and'disinteresr@d,” lt i,», a breach
of the contract of insurance and a violation of the duty of good faith and fair dealing for an
insurance carrier to ertcourage, talemte, participate in or acquiesce in behar pr by its
designated appraiser which is intended or Which results in the apprais¢er ass:.umin§; the role
of an advocate and therefore no longer being “disinter@ted,” or for the company ~ \) tolerate
or participate in any conduct which demonstrates partiality in the process, or otherwise
seeks to involve anything other than a fair and impartial appraisal.

9. The appraisal clause of the contract presumes that the appointed .appraisers
will confer and disclose, each to the otherr, his own appraisal of the amount of th: loss and
the basis therefore so that they may attempt in good faith to address any dii`fer¢rrrces that
may exisc. The contract provides that should two competent and disintmsted \eppraisers
agree upon the amount of the loss, then they are required to submit “‘a written report of an
agreement to [the carrier,] and the amount agreed upon shall be the amount of the toss.”

10. Should, following such good faith consultation, the appraisers fst to agree
within a remnable time, they are required to submit “their differences” to ::1 umpire
selected by them, who must be “competcnt and impartia].”

11. Because. the contract requires and anticipates a collaboraiive effort between
two competent and disinterested professionals, it is a breach of the duty of good faith and
fair dealing for either of the appraisers to do any of the following (a) maniputate,
withhold or distort factsj conclusions or information for the mere purpose of reducing or
increasing the amount of the loss; (b) retilse to divulge his own appraisa§ and the basis

therefore to the other appraiser; (c) direct or instruct the umpire as to what he is ;)emitted

Case 3:09-cv-01196 Document 1-1 Filed 12/18/09 Page 4 of 11 Page|D #: 7

~)

i¢‘.» §

‘:,
~T.L'K'}’
k /&)

"s`zé`§§‘ “ . "')‘t.$ Y"'f'!\':§” §§ § “!
~§.£§!€*.§ ,:. §§ §HQ§§ _> CIQS §W'}’

\_.

!

06/£}12

¢/;.?~F>x@’§~§¢z<§

to disclose to the other appm§ser; {d) engage in §§ M communications with t§'e umpire:;
(e) submit arbitrary or intentionally misleading appraisals for the purpose of mix eating ar
inappropriate}y influencing the umpire; cry (f`) engage in any other behavior imonsistem
with a disinterested appraisal and indicative instead of mere advocacy

12. Pfajntiff appointed Mr. Chuck Howarth of Frank]in, Tennes¢::e as his
apprai$er. State Fam:i appointed David Horton of Jackson, Tennessee, I~I-zrcon and
Howarth signed a “Declaration of Appraisers” on or about March 23, 21;09. The
Declaration is attached hereto as Exhibit A to this Complaint and is incorporated herein by
reference. Each appraiser agreed and swore to "act with strict impartiality taking an
appraisement (sic) of the annual cash value and the amount of loss upon tha property
hereinbefore mentioned., . , .” and further ayeed to render a “true, just and conscientious

award* q *37

13. David Horton is engaged pdmax§ly in the business of minimzzing loss
payments for insm'ance companies, inc}uding Statc Farrn Plaintiff befieves and therefore
avers that Horton and was specifioajly selected by the Defendant for the purpose of
limiting its exposum- David Horton is neither disinterested nor impartial.

14. Mrt Ho:'ton, who perceived his role as one of advocacy on behz,f of State
Farm, proposed absuxdly inadequate mount$ to compensate Mr. Ross for the loss. Mr.
Hozton has a history and practice of tendexing unreasonably low appraisal estimates and cf
using Balt`om' Construction Company, with whom he has a long relationship, as dart of his
advocacy Predict&bly,, the appraisa} amount submitted by Horton was considerably lower

than that of Mr. Howarth and the number previously ascertained by State I~`axm itz~elf.

Case 3:09-cv-01196 Document 1-1 Filed 12/18/09 Page 5 of 11 Page|D #: 8

' ll m '\»
q CIOS "Q' “~*'4 k'_w‘;;j?/¢lg

L}Z-»}Z,§Z--S?§?

15. Mr. Horcon and Mrs. Howarth selected Mr. Robert Maftin of .`\£onterey,
lennessee as the umpire pursuant to the provisions of the policy N<) serious \_~fi`ort was
made by Horton to identify and resolve the differences beiwerm his putative ap;~vaisal and
that of Mr. Howaxth. Mr. Horton, as agent for State P.armg insisted upon engaging in §§
QLT¢,; communications with the umpire, despite objections by Mr. Howarth Horton
tendered a report to the mmpire with the specific instruction that it be withheld lier Mr.
Howmh. Lilcewise, Horton declined to accept, review or discuss the tendered appraisal
package from Mr. Howarth. Consequently, Mr. Howarl'.h was unable to W<)rl. with the
umpire and Mr. Horton to resolve any differences between their appraisals,

16. Mr. Howarth complained about this behavior and finally demanded that Mr.
Martin widzdmw &om furle participation in ther appraisal Mart‘in declined on the basis
that while he had not provided Horton’s estimate to Mr. How‘arth, he had likewise not
provided Howarth’s to Mr. Horton. Martin, under the duress cf Staie Farml through
Horton, failed and refused to coan the essential conduct of the appraisal.

17. The mnpira Thereahzer rendered an “award” which is attached hereto as
Exhibi'z B to this Complaim. 'I`he award omits entire categories of damage, inc iding but
not limited to flooring replacement and the amount proposed by Mzmin leaves cl:e insured
in a position of being unable to repair the insured property Horton, having distorted and
interfered with the entire process, then “approved” the award

FIRST CAUSE OF ACTION
wm

18. lt was improper and in violation of the commct for David Hortou to act as

an advocate on behalf of State Faxm. lt was improper and in violation of the contract for

Case 3:09-cv-01196 Document 1-1 Filed 12/18/09 Page 6 of 11 Page|D #: 9

§ 2;,;':§£§ § \é§é\?j §T¢§z*§ ::;§Q<?=£ )_; CIOS %§C. §E£' ;. §08/012

 

 

qu»)Z>/S>§»~S'E §

Hort<)n to refuse to present and discuss di&`erences in appraisals with M‘r. Howart" ; for him
to misinfoxm the umpire by using Balfour Constmction Com;)any, whose “.'ork was
incomplete and i-nadcquate, a fact known to Horton:, and it was inappropriaze and in
violation of the contract of in$urance for Hortc)n to refuse to exchange his appraisal with
that of Mr. Howanh; it was improper and in violation of the contract of insurance for MJ‘.
Horton improperly to influence Mr. Martin through gx_ p§;,t§ communications and through
directing the very procedures under which Martin would perform his work.

19. lt was improper and in violation of the contract of insurance for the umpire
to allow himself mproper}y to be influenced by Mr. Horton and intentionally tv avoid or
neglect a complete valua'rion ofthe loss aside timm questions of]iability.

20. The putative °“awar ”' rendered in this case Was the product of over-
1'»2:»14:17111‘1§3 resulting in an award so lgrossly inadequa'ce as to amount to a fraud. F¢.nher, the
award evidenced a misapprehension on the part of the umpire of his duty and a failure to
perfom;\ under the contract of insurance. Enforccment of this award would be unjust,
unconscionable and oppressive.

2x. Sme mm has merefore breached this annum of'insumme am Pzainr.iff
1123 been damaged by the failure of the earlier to honor the agreement

SECdND CAUSE OF ACTION

Tennessee Consumer Prutection Act

 

22. The behavior of State Farm Insuzance as alleged and its ageut, David

Horton.{. constimte unfair and deceptive trade practices in violation of the I`ennessee

Consirmer Pr<ztection Act. T'.C.A. 4?-18~102 et seq. Plaintiff has suffered an asc :rtz~zinable

1033 of money or property as a consequence of the violation cfthe Act.

Case 3:09-cv-01196 Document 1-1 Filed 12/18/09 Page 7 of 11 Page|D #: 10

ga
,.)
§ .

f‘:qy`:‘h 4€,:?:'§; €::,5.»*" "?x?`>.» ya §§
w ./“¢».¢`FO! § 51 »f*\:v': dmi M:“i.@l -z CIGS NQ 334 T§}g/Ql;)

#;1~»5:5’/§?~ S?§§’

W~IEREFORE Plaintif`f prays as followz,¢:
A. That proper process issue upon the Defendani through the Comms zsioner of

Insm‘ance and that it be required to answer widmin the time prescribed by law;
B. That the Court decline the appraisal process engaged in, in this cars z, to have
been contrary to the provisions of the policy and that in the alternative the Couz’r c ither
{i) Grder a new appraisal to be done without the participation of David
Horton or Mr. Martin and done in accordance with the terms of the contract or
(ii) their the Comt find that State Parm has by its conduct w aived the
appraisal pmvisions of this policy, and the Comt and jury may ascertain the am€:unt of the
1053 and enter judgment accordingly;

C. That the Defr:ndant bc found to have violated the Tennesse:e '30nsumer
Pmtection Act and that any amount awarded be subject to treble damages, the expenses
and costs of this cause and a reasonable attorneys fees;

D. That ajury of twelve persons be empanelled to try all issues 50 nis.ble; and

E. 'I'hat the PlaintiE be awarded such additional reiief as the Coun may deem

necessary

stpectfully Submitted,

 

. Gary Blackbmu, Esq. (#3484)
BLACKBURN & McCU`NE, PLLC
101 Lea Avenue
Nashville, Tennessee 37210
Telephcme: (615) 254~’7?'70
Facsimile: (615} 25}-1335

Atz‘omey.s for P!airztrjf

Case 3:09-cv-01196 Document 1-1 Filed 12/18/09 Page 8 of 11 Page|D #: 11

osoec. 8.20@9511;48AM srA€E FARM 4 CIOS NO 334 P~u?lo/olz

slac\<nurn a mccune //g_rg 1,<3~_2>..» §§Y@ooa/oo¢

'~. mm “ 1909
zuriaeo,..~.2£2:;.£§§§[§?x$??

soox wP
nscLARAUoNoFAmAISERs MN§-m 8, §R§§m

Grcgmanasmd/arbmmodoommmzitywhtclmuhvs.$m¥mmsmm
4321nglme,szklin.'IN37064 ' 4
CHm#&‘Z-Bl%$-S?B

DmafLma-IMOB.ZOOS

We,tbcmdemigued,dowlamlyswwfhmwwmactwimmiothnpuda§tyin
makingaoappnismmofthcacnnlmdlvawemddwmountoflossmme
mmvmemer\dmm¢wmdmwwhbthefcngd.egappaimm;xddm
mwinmakeauugjustandoomcim&mmawardof&eme,awm£ngwthcbcswf
ourknnw!edge,s.’dlland_iudgmom. Wear:no¢rddndtot!mlnmed,dmorasm¢£m
mothetwise.mdmnotint:es!edinsaid}mpcatyardnhummm

mayza" day ofMar¢h, 2009.

11`/1`3/2¢:¢9 11-.05 m 13152511385

  

We,th¢=undcmigned. hdebyxwmdappdmmmbmnsumpm
mwdemmofdif£crmcedmshallc:dzbewmm,ifpny,bymofmdb:
omphanoewizbihsfomgoingmenmrambnnandappoimt;

mdayzs“aayommh, 20@.

 

ill WEST COHHBBCIAL AVKH'UB \' IOHTERBY, TN * 855‘|¢
!'WONE: 931-¢3!»27¢1 l PA!: 311~|$9~7'!¢$

 

Case 3:09-cv-01196 Document 1-1 Filed 12/18/09 Page 9 of 11 Page|D #: 12

“` §§:jz§d§:r§§§%i C`*s'f' PMP 4 cares 553 334 ?. ?.?1,/012

 

QS,S_V w
‘1%;`1:3/2:)¢9 was mc 131525¥1335 elas:<vurn s accune _ acoazw¢
' ' ' 1 ‘~ ' 4;7~»!.’§‘;~?"5~»5??<§
W QUAUC.A'I‘ICNUFUL\MRE
G:cgoryRosmdfm!mmmu<-,l Baptist€hmchvs.$ms§‘mmhm&m
WILMLW,FMTNS?QM .
Cladm#@-BIB$~$§S
Dm oflms»-Jnmazy 03, 2003

ms day 23“’ day ofMar¢h, 2009. .

I,H)eundersign¢d, hmbyaccepttb¢appomontofmnpim,asprmidedmthc
anagmengmdsolmmnlyswwwludnwmihsnimimpmmnwm 211
mumofdi&mneethatsfmllbemboidedmnwwwmw§onwithwsmmmmg
mdlwznwnme,jzmmdconsdmmawnd,mrdingmthcbmofmy

‘ kno\\dcdgc,ski}ll?djudgment. Iamna¢mlamdtawyo£theprul:stu*&lis

 

ill \'/BE‘!' COMHEICU¢L A‘IB.RUB * ubNT.BfBY., T!‘l ° 385'?4
?HCLHB; ¥§¥~139¢2?5¥ * F?\RXE 33¥!!§¥¢??$5

Case 3:09-cV-01196 Document 1-1 Filed 12/18/09 Page 10 of 11 Page|D #: 13

 

e-.

. *~i.»a

w
~

f'

_..\.

., ' ~
,..§'."."s“.

P.

CO

;3’ go
!9'4` _p_

       

v'

sv"c,*`~“'\:"~ "<Y".~‘ '
., `., . . ,,‘

z

§
h
§§

.

4 ,:
1., *!¢.‘,};
~~,,

.'-` ‘x <
w,.,., ¢
__5,"3»;*;" .,¢. ¢
3;~.£~5»¥’#§‘- ~

.'¢»*,
* ' ..'f
~ -.A

LQ§S 9\¢£6 0000 ‘G‘HGD 600£

<!¢“`.:'.;';e;_g,:'~“
a:* ~'. ~' "

z
§§
§
§
§
§
§

§
§
§
§
z
§
§
§
ai
§
§

§
:'n'
§
§
3
IU
m
ga
§
§
g
1
3
§
§
.¢

BDGUBEH l-

 

' q...£v¢;-¢.;. »».,~¢.. ¢...~q_

. xi
Z;,»‘.~f.'~f‘~w‘~a v
»&T:
¢'z'* '

Case 3:09-cV-01196 Document 1-1 Filed 12/18/09 Page 11 of 11 Page|D #: 14

   

»"

# WL;;;;.

13,2:§';.3.
~'é.;'» ,‘/,»»z;,:§; .,;
"- »W§@‘§W ,

err ,

   
  

...

z , ` §§ '
,».~ Y§{;V""*'$""`

'|lil||"r*‘i""s"i“"'l'lila}l"'|'tl‘s'ii"u‘¢i*ll'c

=“,...

